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                      UNITED STATES DISTRICT COURT
                           DISTRICT OF MAINE

MICHAEL COMMEAU,                          )
                                          )
                    Petitioner,           )
                                          )
v.                                        ) Docket No. 1:21-cv-00074-NT
                                          )
MATTHEW MAGNUSSON,                        )
                                          )
                    Respondent.           )


           ORDER AFFIRMING THE RECOMMENDED DECISION
                    OF THE MAGISTRATE JUDGE

      On September 27, 2021, the United States Magistrate Judge filed with the

Court, with copies to the parties, his Recommended Decision on the Petitioner’s 28

U.S.C. § 2254 petition (ECF No. 12). The time within which to file objections has

expired, and no objections have been filed. The Magistrate Judge notified the parties

that failure to object would waive their right to de novo review and appeal.

      It is therefore ORDERED that the Recommended Decision of the Magistrate

Judge is hereby ADOPTED. The Petitioner’s 28 U.S.C. § 2254 petition (ECF No. 1)

is hereby DISMISSED with prejudice.
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      It is further ORDERED that no certificate of appealability should issue in the

event the Petitioner files a notice of appeal, because there is no substantial showing

of the denial of a constitutional right within the meaning of 28 U.S.C. § 2253(c)(2).




SO ORDERED.

                                              /s/ Nancy Torresen
                                              United States District Judge

Dated this 25th day of October, 2021.




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